Case 2:03-cV-02844-.]P|\/|-de Document 19 Filed 06/24/05 Page 1 of 2 Page|D 28

IN THE UNITED sTATEs DISTRICT couR'r """”1 “"“' J.U_
FoR THE wEsTERN n:csTRIc-r oF TENNESSEE Uq …_ _
wEsTERN nIv:csIoN "’ ‘*U‘""gg‘# Pr`i q: `:)

 

SHEBA HARPER,

 

Plaintiff,
V¢

No. 03-2844 Ml/V

PCA SECURITY,

\_r\./\.d-Iv\~_-¢\_¢\.J\_¢

Defendant.

 

ORDER SETTING SCHEDULING/STATUS CONFERENCE

 

The court shall hold a scheduling/status conference in this case
on Thursdav, JulV 21, 2005, at 9:00 a.m. to discuss all issues in the
case, including jurisdiction. Former Defendant, Bobby Hobson, is
required to appear at the conference.1 The Clerk of Court is hereby
ORDERED to mail a copy of this order to Mr. Hobson at the following
address:

5682 Morning Flower Drive
Memphis, TN 38135-0277

Mr. Hobson is reminded that failure to appear at the
scheduling/status conference may result in the imposition of

appropriate sanctions.

so oRDERED wiggde Of Ju e, 2005.
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JO P. MCCALLA
UN TED STATES DISTRICT JUDGE

  
  
 

 

 

' In an order issued on December 30, 2003, the Court dismissed

Plaintiff's Complaint against Mr. Hobson. (Order, Dec. 30, 2003,
(Docket No. 3), at l.)

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DISTRICT oURT - WESTERN ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:03-CV-02844 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

Sheba Harper
3063 Audrey Cove
l\/lemphis7 TN 38127

Honorable J on McCalla
US DISTRICT COURT

